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               Exhibit D
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Looker, Samantha K.

Subject:               FW: Apple Inc. (our Ad ref# APP44644-F)
Attachments:           2024.9.24 Correspondence to App Store Notices(20547953.1).pdf



From: Elkin, Michael
Sent: Tuesday, September 24, 2024 11:08 AM
To: ASN <AppStoreNotices@apple.com>
Cc: herstein@pitblado.com
Subject: Apple Inc. (our Ad ref# APP44644-F)


Dear App Store Notices:

As you know, we are legal counsel to Musi Inc. in connection with this matter.

We are writing in furtherance to our communication to you on September 19. To date, we have received no
communications from the Complainant in response to our September 6 correspondence, nor has the
Complainant substantiated its complaint with further details.

Musi acknowledges under the Apple Developer Program License Agreement that it has agreed to indemnify and
hold Apple harmless with respect to claims against its app.

Musi will continue to keep App Store Notices informed as to the status of this dispute.

Yours truly,


Michael Elkin
Winston & Strawn LLP
T: +1 212-294-6700
D: +1 212-294-6729
F: +1 212-294-4700
winston.com




From: Elkin, Michael
Sent: Thursday, September 19, 2024 8:39 AM
To: ASN <AppStoreNotices@apple.com>
Cc: herstein@pitblado.com
Subject: FW: Apple Inc. (our Ad ref# APP44644-F)

Dear App Store Notices:

As you know from my earlier communications, we are legal counsel to Musi Inc. in connection with this matter.

Musi takes this matter extremely seriously.


                                                            1
                                                                                                                                                                             Case 5:24-cv-06920-NC Document 10-20 Filed 10/09/24 Page 3 of 6

In response to YouTube’s September 6 communication, I immediately reached out to YouTube via the email listed on
this thread. Apple was provided with a copy on this communication, and this communication is reattached to this email.
To date, I have not received a response from YouTube to my September 6 communication. In addition, at no point has
YouTube provided any details to substantiate its complaint.

In the meantime, rest assured that Musi acknowledges under the Apple Developer Program License Agreement that it
has agreed to indemnify and hold Apple harmless with respect to claims against its app.

Musi further acknowledges that Apple does not act as arbiter for disputes amongst third parties. Musi considers this
matter to be an active legal issue between the parties and is treating it accordingly.

We would like to strongly reiterate that in our view there is no basis, legal or otherwise, for you to remove our client's
app from the App Store.

As a reminder, attached is a copy of Musi’s latest correspondence to YouTube, dated September 6, 2024.

Sincerely,

Michael S. Elkin


Michael Elkin
Winston & Strawn LLP
200 Park Avenue
New York, NY 10166-4193
D: +1 212-294-6729
F: +1 212-294-4700
Bio | VCard | Email | winston.com




From: ASN <AppStoreNotices@apple.com>
Sent: Wednesday, September 18, 2024 4:22 PM
To: aaronwojnowski@gmail.com <aaronwojnowski@gmail.com>; support@feelthemusi.com
<support@feelthemusi.com>; christian@feelthemusi.com <christian@feelthemusi.com>;
aaron@feelthemusi.com <aaron@feelthemusi.com>; apple-ios-contact@feelthemusi.com <apple-ios-
contact@feelthemusi.com>; herstein@pitblado.com <herstein@pitblado.com>; Elkin, Michael
<MElkin@winston.com>
Cc: legal-youtube@google.com <legal-youtube@google.com>; legal-
youtube+2mlwktveucwom0y@google.com <legal-youtube+2mlwktveucwom0y@google.com>
Subject: Apple Inc. (our ref# APP44644-F)
**Please include APP44644-F in the subject line of any future correspondence on this matter as failure to do so may prevent our system from properly recording your response.**Hello,YouTube Legal has advised that this matter is still not resolved. Please contact YouTube Legal imme




CGBANNERINDICATOR




**Please include APP44644-F in the subject line of any future correspondence on this matter as failure to
do so may prevent our system from properly recording your response.**

                                                                                                                                                                                                                                                                                           2
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Hello,

YouTube Legal has advised that this matter is still not resolved. Please contact YouTube
Legal immediately regarding this issue. You can reach YouTube Legal through: YouTube
Legal (email: legal-youtube@google.com, legal-
youtube+2mlwktveucwom0y@google.com).

As you know, it is your responsibility to resolve this issue directly with YouTube Legal, and
further, that you are responsible for any liability to Apple in connection with this
matter. We look forward to confirmation from you and YouTube Legal that this issue has
been resolved.

If the matter is not resolved shortly, Apple may be forced to pull your application(s) from
the App Store.

F. Developer: Musi Inc.
Provider: Musi Inc.
App Title: Musi - Simple Music Streaming
Apple ID: 591560124
-

Sincerely,

Victoria,

  Apple Legal | Apple | One Apple Park Way Cupertino, CA 95014 |
The information in this e-mail and any attachment(s) is intended solely for the personal and
confidential use of the designated recipients. This message may be an attorney-client
communication protected by privilege. If you are not the intended recipient, you may not
review, use, copy, forward, or otherwise disseminate this message. Please notify us of the
transmission error by reply e-mail and delete all copies of the message and any
attachment(s) from your systems. The use of the sender's name in this message is not
intended as an electronic signature under any applicable law. Thank you.




Begin forwarded message:

From: YouTube Legal <legal-youtube+2mlwktveucwom0y@google.com>
Subject: Apple Inc. (our ref# APP44644-F)
Date: September 6, 2024 at 2:26:29 PM PDT
To: appstorenotices@apple.com
Cc: 125665701@qq.com, frank@crunding.com, giveappfeedback@gmail.com,
frank@impalastudios.com, peter@impalastudios.com, susanna@impalastudios.com,
carinda@impalastudios.com, paul@impalastudios.com, jenkins@impalastudios.com,
apc_yaoyou@impalastudios.com, rodrick@impalastudios.com,
admin@impalastudios.com, johannes.lang@impalastudios.com,
                                              3
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robert@impalastudios.com, iuri.genovesi@impalastudios.com,
legal@impalastudios.com, apple-ios-contact@feelthemusi.com, herstein@pitblado.com,
melkin@winston.com, aaronwojnowski@gmail.com, support@feelthemusi.com,
aaron@feelthemusi.com, christian@feelthemusi.com
Reply-To: YouTube Legal <legal-youtube+2mlwktveucwom0y@google.com>


Hi Apple team,

We are writing to follow up on this matter. Musi has not reached out to us despite their
message below, and this app continues to violate our Terms of Service. We request that
you please proceed with removing this app from the App Store.

Sincerely,
The YouTube Team



On August 14, 2024 AppStoreNotices@apple.com wrote:

**Please include APP44644-F in the subject line of any future correspondence on this
matter as failure to do so may prevent our system from properly recording your
response.**

       Hello,

       According to our records, this matter is still not resolved. Please contact
       YouTube Legal immediately regarding this issue. You can reach YouTube
       Legal through: YouTube Legal (email: legal-youtube@google.com, legal-
       youtube+2mlwktveucwom0y@google.com).

       F. Developer: Musi Inc.
       Provider: Musi Inc.
       App Title: Musi - Simple Music Streaming
       Apple ID: 591560124
       -

       As you know, it is your responsibility to resolve this issue directly with
       YouTube Legal, and further, that you are responsible for any liability to
       Apple in connection with this matter. We look forward to confirmation from
       you and YouTube Legal that this issue has been resolved.

       Sincerely,

       Victoria,

        Apple Legal | Apple | One Apple Park Way Cupertino, CA 95014 |
       The information in this e-mail and any attachment(s) is intended solely for
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the personal and confidential use of the designated recipients. This
message may be an attorney-client communication protected by
privilege. If you are not the intended recipient, you may not review, use,
copy, forward, or otherwise disseminate this message. Please notify us of
the transmission error by reply e-mail and delete all copies of the message
and any attachment(s) from your systems. The use of the sender's name in
this message is not intended as an electronic signature under any
applicable law. Thank you.



Begin forwarded message:

From: "Elkin, Michael" <MElkin@winston.com>
Subject: FW: Re: Apple Inc. (our ref# APP44644-F) Notice of Complaint
Date: August 12, 2024 at 9:11:56 AM PDT
To: "ASN" <AppStoreNotices@apple.com>
Cc: "herstein@pitblado.com" <herstein@pitblado.com>


Dear App Store Notices:

As you know from earlier communications, we are legal counsel to Musi Inc. in
connection with this matter.

We believe that YouTube Legal (“Complainant”) has made unsubstantiated claims
about our client's app. We have been in communication directly with the
Complainant on this matter in order to attempt to come to a timely resolution of
this dispute. We will keep you updated as to the status of our communication.

We would like to reiterate that in our view there is no basis, legal or otherwise, for
you to remove our client's app from the App Store.

Yours truly,

Michael S. Elkin



Michael Elkin
Winston & Strawn LLP
200 Park Avenue
New York, NY 10166-4193
D: +1 212-294-6729
F: +1 212-294-4700
Bio | VCard | Email | winston.com




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